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                         In The Matter Of:
                              Katz v.
                           Liberty Power




                           Samuel Katz
                           May 16, 2019
                          CONFIDENTIAL




                     Min-U-Script® with Word Index
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 1         A.   I don't remember.        I don't know that it was

 2    a newspaper.

 3         Q.   Let's start with the first call you said
 4    you answered, October 3, 2016, 1:27 p.m.              Can you

 5    tell me about that call, please?

 6         A.   My recollection is that I received a call
 7    and I could not hear the caller.

 8         Q.   Did the caller say anything?

 9         A.   He was saying things; I don't believe that

10    I could understand him.
11         Q.   How long was the call?

12         A.   It looks like it was less than two minutes.

13         Q.   Where is that data point, length of call,
14    on here?

15         A.   That would be 13:29 minus 13:27.
16         Q.   So your basis for that, the October 3,
17    2016, 1:27 p.m. call was less than two minutes is

18    that you got an anonymous call two minutes later?

19         A.   Yes.
20         Q.   How does an anonymous call link to

21    508-202-1270?

22         A.   My recollection is that the party called me
23    back again due to the connection issue.

24         Q.   It was the same individual?

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 1         A.   Could we listen to the recordings?

 2         Q.   Do you know if it was the same individual?

 3         A.   Well, I'm asking if we could listen to the
 4    recordings.      I don't know that if -- I don't know if

 5    it was the same individual.

 6         Q.   How long was that second call?
 7         A.   I believe it was fairly lengthy.

 8         Q.   What was the substance of it?

 9         A.   I believe that that was the call where I

10    was -- asked to not be called anymore.              I think it
11    was also when I asked for a copy of the Do Not Call

12    policy.    I think I was transferred to Calibrus three

13    times.    I think the agent -- I think that that was
14    also the call where the agent told me that if I

15    wanted to stop receiving calls, I had to sign up for
16    Liberty Power service.
17         Q.   Does 29 minutes sound right for the length

18    of that call?

19         A.   It sounds about right.         I think that might
20    be the call.

21         Q.   You seek to avoid telemarketing calls,

22    correct?
23         A.   Yes.

24         Q.   You seek to avoid interacting with

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 1    telemarketers, correct?

 2         A.   What do you mean by "seek to avoid"?              My

 3    number is already on the Do Not -- these numbers
 4    were on the Do Not Call List.

 5         Q.   So why would you stay on the phone with

 6    them for 29 minutes?
 7         A.   Well, you know, as has happened in other

 8    cases, there are other situations, you know, parties

 9    claim that they're impersonated, and they claim,

10    "Oh, there's no records," "the records are
11    offshore."     You know, they have all kinds of games

12    that they play.       And in my experience the best way

13    to insure that -- the correct party responsible for
14    illegal telemarketing is to engage with them and

15    follow the sales process that they're trying to go
16    through with the called party, and then ultimately
17    the party responsible for the call will become known

18    as a result of that process.

19         Q.   So you feign interest to gain knowledge?
20         A.   I don't know that "feign" is the correct

21    adjective because there's a legitimate interest in

22    learning who is responsible for the call, and the --
23    you know, this is a tactic that the federal

24    government has condoned for catching telemarketers

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 1         A.   I don't know if that was said by the caller

 2    or not.

 3         Q.   You also testified a moment ago that you
 4    answered one call on October 14.            There are four

 5    listed here.      This is obviously not a memorization

 6    test; I'm not going to ask you which call it was;
 7    but do you recall the substance of whatever call

 8    that you answered?

 9         A.   No, I don't -- my memories are particularly

10    around the frustration of the 10/3 call.
11         Q.   Why were you frustrated?

12         A.   The -- can we listen to the tape and maybe

13    we can go play-by-play over the misrepresentations
14    made about the money that I would be saving or the

15    illusion the caller was attempting to create, that
16    it was Eversource placing the call, prominently
17    saying the Eversource name as a brand, to attempt to

18    confuse consumers?        Can we listen to the recording

19    so that we can talk about why I felt that it was so
20    important to determine the identity of the caller?

21         Q.   You just explained.

22         A.   Okay.
23         Q.   Do you recall being deposed in Slovin v.

24    Sunrun in -- on June 26, 2017?

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 1    the public records requests with Massachusetts,

 2    where I found the investigation that occurred

 3    shortly after my complaints in Massachusetts with
 4    the DPU, and also what's happened with PURA in

 5    Connecticut and I think New York as well also for

 6    the door-to-door solicitation, that there are very
 7    serious compliance and ethical issues with how

 8    Liberty Power attempted to acquire customers, and

 9    one of those methods was telemarketing, which they

10    included -- which they openly admit to in their
11    public records when they're filing with regulatory

12    authorities.

13         Q.   The only reason            rang in 20 --
14    September and October of 2016 is because you set up

15    call forwarding to your cell phone, correct?
16         A.   No.    The reason it rang is because I set up
17    call forwarding so that my wife wouldn't have to

18    hear the annoying calls or so that I wouldn't have

19    to walk across the house and pick up the phone.
20         Q.   Couldn't you just turn off the ringer

21    instead of setting up call forwarding?

22         A.   I'm under no obligation to accommodate the
23    needs of telemarketers who habitually violate the

24    law.

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 1         Q.   You are not, that is correct, but you could

 2    have avoided what you allege to be intrusive and

 3    harassing by simply turning off the ringer, correct?
 4         A.   Well, I was already on the National Do Not

 5    Call List, so that was my effort, which I think

 6    would be much more broad than turning off the
 7    ringer.

 8         Q.   But instead, you set up call forwarding to

 9    create records of these calls, correct?

10         A.   So that I could identify and hold the
11    parties accountable who are responsible for those

12    calls, I engaged in steps required to positively

13    identify the companies responsible for those calls.
14         Q.   On your call log which we looked at a

15    moment ago, you identified 508-202-1270 as a Liberty
16    Power telephone number, but you said you didn't pick
17    up the telephone until the tenth call, which is on

18    October 3, the first call being on September 8.                If

19    you knew it was from Liberty Power, why would you
20    pick up at all?

21         A.   Why do you think that I knew that the call

22    was from Liberty Power?
23         Q.   Well, your log says on September 8 you got

24    a call from Liberty Power.

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 1         A.   That doesn't necessarily -- that doesn't --

 2    that's not an indication that the entry of Liberty

 3    Power was made on September 8.
 4         Q.   So it's backfilled?

 5         A.   I don't think that "backfilled" -- I don't

 6    think that "backfilled" is an appropriate way to
 7    describe it.      It was filled in when the party

 8    responsible for 508-202-1270 was discovered, is what

 9    my guess would be.

10         Q.   Was that on October 3, when you took that
11    29-minute call?

12         A.   I think so, but I don't remember exactly.

13         Q.   So if you identified Liberty Power as an
14    unsolicited telemarketer on 10/3, why did you answer

15    the phone again on October 14?
16         A.   How would I know who was calling me on
17    October 14?

18         Q.   Because it's the same telephone number.

19         A.   That phone number wouldn't have shown up on
20    my cell phone when it was ringing; it would have

21    shown up as the Google Voice number, the

22    number.
23                   I should also add, my recollection is

24    that on October 3, after receiving the call from

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 1    Liberty Power, I directly complained to them in an

 2    email, and they lied to me in their response after

 3    Mezzi had confirmed that they were the part -- they
 4    did make those calls or they did make that call.

 5                   MR. BRUNDAGE:       I think that's lunch.

 6                   VIDEOGRAPHER:       The time is approximately
 7    1:32, and we are off the record.

 8                   (Luncheon recess at 1:32 p.m.)

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 1         Q.    If you turn to KATZ 14, which is page 2,

 2    please.     Is this an email from you to Liberty Power

 3    saying, "Please add me to your Do Not Call List" and
 4    providing three telephone numbers?

 5         A.    Yes.

 6         Q.    The numbers you provided are your cell
 7    phone,        , one of your Fios numbers at the time,

 8         , and your Google number of               ; is that

 9    accurate?

10         A.    That's correct, yes.
11         Q.    Why did you not also include your

12    Verizon Fios number which you had at the time?

13         A.    I mean, I think it's important to add the
14    context that this was October 3, which was the same

15    day that I had received a call on my                    number.     I
16    don't remember why I didn't include                 .    I don't
17    know.

18         Q.    Why did you send this email to David -- to,

19    among others, David Hernandez?
20         A.    I wanted to make sure that my phone

21    number -- also, my understanding is that even though

22    they told me that they had DNC'd me, they didn't
23    actually do it until several months later; but my

24    inclusion of David Hernandez would be to try to

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 1    ensure that the right people got the message and

 2    that it didn't just end up in a customer service

 3    queue with employee -- in an effort to contact the
 4    -- one of the listed owners of the company, it would

 5    be to make sure that the right people at the company

 6    who have the capability to make decisions would make
 7    that -- make sure that it was followed through with.

 8         Q.    On the first page, Bates 13, you write at

 9    the top, "The calls were claiming to be made on

10    behalf of Eversource"; is that correct?
11         A.    That's what it says, yes.

12         Q.    In the telephone calls were they claiming

13    to be made on behalf of Eversource?
14         A.    Can we listen to the calls, please?

15         Q.    I don't have every call recording in front
16    of me.
17         A.    Well, I think if we listen to the calls,

18    then we would be able to ascertain, you know, the --

19    why I felt like they were rep -- Eversource was
20    the -- they were representing that they were made by

21    Eversource.

22         Q.    Absent the calls, you have no recollection?
23         A.    My recollection is that the language and

24    the way that the representative was speaking on the

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 1    phone, as well as the prerecorded message was

 2    clearly and prominently using the Eversource name in

 3    an effort to mislead company -- mislead consumers
 4    about the companies who were -- the company who was

 5    making the call.        I think it -- the recordings will

 6    provide clarity on that.
 7         Q.    You wrote, "I've been receiving them for

 8    months."     Isn't it true, though, that you'd only

 9    been receiving calls allegedly for one month,

10    September 8, 2016?
11         A.    No, I had received prerecorded voice calls

12    claiming affiliation with Eversource for much longer

13    than the calls that are indicated here (indicating).
14         Q.    Affiliation with Eversource or affiliation

15    with Eversource and Liberty Power?
16         A.    The prerecorded messages for a -- months,
17    as indicated here, were referencing Eversource.

18         Q.    Do you see underneath your email, where

19    it's an email from customercare@libertypowercorp, it
20    says, "Hello, we do apologize for any inconvenience.

21    We have submitted your request to have the below

22    numbers added to the Do Not Call List.              Can you
23    please also provide what state you're located in"?

24    Do you see that?

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 1         A.    Yes.

 2         Q.    Why didn't you tell them what state you

 3    were located in?
 4         A.    I don't know.

 5         Q.    Well, I would think if you wanted the calls

 6    to stop, you would provide them information that
 7    they requested.

 8         A.    I had already done what I was required to

 9    do by asking the calls to stop, by being on the Do

10    Not Call List, and by providing them with my phone
11    numbers, indicating that I wanted to be added to

12    their Do Not Call List.

13         Q.    But if you had received a call from Liberty
14    Power after October 3 to your               , it would be part

15    of this lawsuit, wouldn't it?
16                    MS. PARASMO:      Objection.
17         A.    I don't know that that's necessarily the

18    case.     It didn't happen.

19         Q.    If it did happen, wouldn't it be part of
20    this lawsuit?

21                    MS. PARASMO:      Objection.

22         A.    No, I don't know whether I can conclusively
23    state that.

24         Q.    So it may be?

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 1                  CERTIFICATE OF COURT REPORTER

 2                    I, Joan M. Cassidy, Registered

 3    Professional Reporter and Certified Realtime
 4    Reporter, do certify that the deposition of Samuel

 5    I. Katz, in the matter of S. Katz, et al. vs.

 6    Liberty Power Corp., LLC, et al., on May 16, 2019,
 7    was stenographically recorded by me; that the

 8    witness provided satisfactory evidence of

 9    identification, as prescribed by Executive Order 455

10    (03-13) issued by the Governor of the Commonwealth
11    of Massachusetts, before being sworn by me, a Notary

12    Public in and for the Commonwealth of Massachusetts;

13    that the transcript produced by me is a true and
14    accurate record of the proceedings to the best of my

15    ability; that I am neither counsel for, related to,
16    nor employed by any of the parties to the above
17    action; and further that I am not a relative or

18    employee of any attorney or counsel employed by the

19    parties thereto, nor financially or otherwise
20    interested in the outcome of the action.

21
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22                         Joan M. Cassidy, RPR, CRR
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